













Opinion issued October 13, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00893-CR
____________

IN RE WILLIE FIELD WILLIAMS, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 2, 2005, relator, Willie Field Williams, filed a petition for a writ of
mandamus in this court.  We deny relator’s petition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ORDERED.PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Bland.

Do not publish.   Tex. R. App. P. 47.2(b).


